
The following entry was made on the-records of the Superior Court of law for Harrison county, on the 7th May, 1813. “It appearing to the court, from the affidavit of William Davis, that Jacob Israel, of the county of Harrison, gentleman, one of the commonwealth’s justices of the peace within and for the said count}' of Harrison, has been and is employed in the transportation of the mail of the United States, from the Green Glades to Marietta, by virtue of a contract made with the post master general of the United States for that purpose, and that the said Jacob Israel, while so employed in the transportation of the said mail, has continued, and still continues to act as one of the commonwealth’s justices of the peace, within and for the said county of Harrison.
“The attorney for the commonwealth, therefore moves the court to make a rule upon the said Jacob Israel, to shew cause, on the first day of the next term, if any he hath, or can shew, why an information shall not be filed against him for exercising the said office of a justice of the peace, while employed as aforesaid in the transporta318 tion *of the mail aforesaid, and which motion is adjourned to the general court, on account of novelty and difficulty, upon the following points, viz. whether the said Jacob Israel, by making the contract aforesaid, and being employed in performance thereof, in transporting the mail aforesaid, is disqualified from holding and exercising the office of a justice of the peace aforesaid.”
June 12th, 1813. The general court, consisting of judges Holmes, Semple, and Randolph, decided, “That the defendant by making the contract stated in the record, and being employed in the performance thereof, in transporting the mail, is disqualified from holding and exercising the office of a justice of the peace.”
See 1st Vol. Rev. Code, p. 392.
